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5    William Walters
6                                    UNITED STATES DISTRICT COURT
7
                             DISTRICT OF OREGON – PORTLAND DIVISION
8

9                                                     CASE NO. 3:18-cv-01017
     WILLIAM WALTERS,
10

11                             Plaintiff,             PLAINTIFF’S COMPLAINT FOR DAMAGES:
12           v.
                                                           1. Violation of the Telephone Consumer
13                                                            Protection Act
     Umpqua Bank, N.A., and DOES 1 through
14   100 inclusive,
15                             Defendants.
16
             COMES NOW Plaintiff William Walters an individual, based on information and belief,
17
     to allege as follows:
18
                                              INTRODUCTION
19
         1. This is an action for damages brought by an individual consumer for Defendant’s
20
     violation of the Telephone Consumer Protection Act 47 U.S.C. §227, et seq. (hereinafter
21
     “TCPA”), which prohibits the use of automated dialing equipment when making calls to
22
     consumers.
23
         2. Plaintiff brings this action against Defendant Umpqua Bank (hereinafter “Umpqua”) for
24
     its abusive and outrageous conduct in connection with debt collection activity.
25        3. While may violations are described below with specificity, this Complaint alleges
26   violations of the statutes cited in their entirety.
27       4. The TCPA was designed to prevent calls like the ones described herein, and to protect
28   the privacy of citizens like Plaintiff, and by enacting the TCPA, Congress intended to give

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     consumers a choice as to how corporate entities may contact them and to prevent the nuisance
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     associated with automated or prerecorded calls.
2

3                                     JURISDICTION & VENUE

4       5. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and 1367, and 47 U.S.C. §

5    227.

6
        6. This venue is proper pursuant to 28 U.S.C. §1391(b).

7
                                    GENERAL ALLEGATIONS
        7.   Plaintiff William Walters (hereinafter “Plaintiff”) is an individual residing in the state
8
     of Oregon and is a “debtor.”
9
        8.   At all relevant times herein, Defendant Umpqua engaged, by the use of mail, email,
10
     and telephone, in the business of collecting a debt from Plaintiff, and a “consumer debt.”
11      9.   At all relevant times, Defendant acted as a “debt collector.”
12      10. Plaintiff opened an account with Umpqua in approximately September of 2016.
13      11. The account Plaintiff opened from Defendant Umpqua was related primarily to
14   personal, family or household purposes and is therefore a “debt.”

15
        12. Defendant Umpqua has been attempting to collect on a debt that originated from
     monetary credit that was extended primarily for personal, family, or household purposes, and
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     was therefore a “consumer credit transaction.”
17
        13. Because Plaintiff, a natural person allegedly obligated to pay money to Defendant
18
     Umpqua arising from what Plaintiff is informed and believes was a consumer credit
19
     transaction, the money allegedly owed was a “consumer debt.”
20
        14. Plaintiff is informed and believes that Defendant is one who regularly collects or
21   attempts to collect debts on behalf of themselves, and is therefore a “debt collector.”
22      15. Plaintiff’s account was an unsecured loan and Plaintiff began making payments on the
23   accounts.
24      16. Plaintiff began making payments on the account before he became financially unable

25
     to keep up with the monthly payments.
        17. Defendant Umpqua began contacting Plaintiff in February of 2018 to inquire about
26
     the status of the account and to collect on the payments that were no longer being made.
27

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         18. Plaintiff retained counsel to assist in dealing with Umpqua debt and to seek some type
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     of financial relief.
2
         19. Plaintiff sent a letter to Umpqua on or about February 14, 2018 informing Umpqua
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     that he was revoking any prior consent that may have been given to be contacted on his cellular
4
     telephone.
5
         20. Plaintiff believes his revocation letter was received by Umpqua on February 20, 2018.
6        21. Plaintiff informed Umpqua that he was revoking his consent, if it was ever previously
7    given, to be called on his telephone in February of 2018.
8        22. Plaintiff was frustrated that Umpqua continued to make unsolicited calls on his
9    cellular telephone after contacting Umpqua to revoke his consent.

10
         23. Plaintiff denies he ever gave his express consent to be contacted on his cellular
     telephone by automatic dialing machines and pre-recorded messages.
11
         24. Defendant Umpqua continued to contact Plaintiff between approximately February 20,
12
     2018 – June 4, 2018; the type of contact was through phone calls to Plaintiff on his cellular
13
     telephone.
14
         25. Despite notice being sent Defendant continued to contact Plaintiff on his cellular
15
     telephone regarding collection of his outstanding debt.
16       26. Umpqua ignored Plaintiff’s letter of revocation and continued to contact him for at
17   least three months following receipt of Plaintiff’s letter.
18       27. Umpqua’s calls were frequent in nature and continued despite receiving written
19   confirmation that he was revoking any consent that may have been previously given to be

20
     called on his cellular telephone.
                                         FIRST CAUSE OF ACTION
21
                                          (Violation of the TCPA)
22                                             (47 USC § 227)
                                     (Against Defendant and Does 1-100)
23
         28. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
24
     above as though fully set forth herein.
25
         29. Since at least January of 2018 Defendant started calling Plaintiff’s cellular telephone
26
     requesting that payment be made on the accounts Plaintiff held with Defendant.
27       30. Plaintiff informed Defendant that he was revoking consent to be contacted by Umpqua
28   in February of 2018.
                                                        3
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        31. Umpqua continued to call Plaintiff frequently since Plaintiff withdrew his consent to be
1
     contacted by an automatic dialing machine.
2
        32. Defendant would contact Plaintiff frequently regarding payment on the accounts.
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        33. Defendant placed the above cited calls using an artificial or prerecorded voice to deliver
4
     the collection messages without Plaintiff’s prior express consent.
5
        34. Defendant contacted Plaintiff on at least twenty (20) separate occasions after Plaintiff
6    informed Defendant he did not wish to be contacted on his cellular telephone and withdrew any
7    prior consent that may have been given.
8       35. All calls placed by Defendant to Plaintiff utilized an “automatic telephone dialing

9    system” as defined by 47 U.S.C. §227(a)(1).

10
        36. These calls were made to Plaintiff’s cellular telephone and were not calls for an
     emergency purposed as defined by 47 U.S.C. §227(b)(1)(B).
11
        37. These telephone calls by Defendant, or its agent, violated 47 U.S.C. §227(b)(1)(B).
12

13                                      PRAYER FOR RELIEF
14   WHEREFORE, Plaintiff prays for judgment as follows:
15              a. An award of statutory damages of $1,500.00 pursuant to 47 U.S.C.

16                  §227(b)(3)(C) for each and every violation.

17
                b. Pursuant to 47 U.S.C. §227(b)(3)(A), injunctive relief prohibiting such conduct
                    in the future.
18
                c. Pursuant to 15 U.S.C. 1692(k) both actual damages and statutory damages in an
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                    amount to be proven at trial.
20
                                                          SAGARIA LAW, P.C.
21   Dated: June 8, 2018                            By:   /s/ Kyle Schumacher
                                                          Kyle Schumacher
22
                                                          Attorneys for Plaintiff
23
                                     DEMAND FOR JURY TRIAL
24
            Plaintiff hereby demands trial of this matter by jury.
25
                                                           SAGARIA LAW, P.C.
26
     Dated: June 8, 2018                                  /s/ Kyle Schumacher
27                                                        Kyle Schumacher
28
                                                          Attorneys for Plaintiff

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